          Case: 18-17462, 05/26/2020,
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                              NOT FOR PUBLICATION                           FILED
                      UNITED STATES COURT OF APPEALS                         MAY 26 2020
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
                              FOR THE NINTH CIRCUIT

UNITED STATES ex rel. DIANA JUAN,                  No.    18-17462
Relator,
                                                   D.C. No. 4:16-cv-04934-CW
                  Plaintiff-Appellant,

 v.                                                MEMORANDUM*

STEPHEN HAUSER; et al.,

                  Defendants-Appellees,

UNITED STATES OF AMERICA,

      Real-party-in-interest-
      Appellee,

and

BOARD OF REGENTS OF THE
UNIVERSITY OF CALIFORNIA; et al.,

                  Defendants.

                      Appeal from the United States District Court
                        for the Northern District of California
                       Claudia Wilken, District Judge, Presiding

                        Argued and Submitted February 3, 2020
                              San Francisco, California


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
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Before: PAEZ and BEA, Circuit Judges, and JACK,** District Judge.

      Plaintiff-Relator Diana Juan appeals the district court’s dismissal of her

complaint under Rule 9(b) of the Federal Rules of Civil Procedure and the district

court’s denial of her motion to amend her complaint. We affirm.

      1. Reviewing de novo, Gonzalez v. Planned Parenthood of L.A., 759 F.3d

1112, 1114 (9th Cir. 2014), we conclude the district court correctly dismissed

Juan’s Second Amended Complaint (SAC), the operative complaint, because it

failed to “state with particularity the circumstances constituting fraud.” Fed. R.

Civ. P. 9(b); see United States v. Healthcare Ins. Co., 848 F.3d 1161, 1180 (9th

Cir. 2016) (explaining that a complaint must allege the “who, what, when, where,

and how of the misconduct charged”). The principal deficiency here—and the

basis upon which we affirm—is that Juan failed to allege how each defendant

played a role in the alleged fraud. The district court correctly ruled that the SAC

merely “lump[s]” together the defendants and fails to “inform each defendant

separately of the allegations surrounding his alleged participation in the fraud.”

      2. The district court did not abuse its discretion in denying Juan’s motion for

leave to amend her complaint. See Gonzalez, 759 F.3d at 1114. “Where the

plaintiff previously has been granted leave to amend and has subsequently failed to



      **
            The Honorable Janis Graham Jack, United States District Judge for
the Southern District of Texas, sitting by designation.

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add the requisite particularity in its claims, the district court’s discretion to deny

leave to amend is particularly broad.” Loos v. Immersion Corp., 762 F.3d 880,

890–91 (9th Cir. 2014). The district court provided Juan with thorough

instructions on how Juan could amend her complaint to meet Rule 9’s strictures.

Juan’s SAC, however, was nearly identical to the First Amended Complaint and

added nothing more than conclusory or generic allegations of fraud.

      3. Lastly, the district court did not abuse its discretion in precluding Juan

from further amending her claims to add the defendants it struck from the SAC.

Juan had ample time to seek leave to add those defendants, but never filed a

motion nor indicated any intention to do so. Juan also fails to explain on appeal

what new facts she would have alleged. We therefore see no basis to reverse.

      AFFIRMED.




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